ons S. DISTRICT COURT
Case 4:20-cr-00042-P Document1 Filed 02/07/20 Paget eer OF TEXAS

IN THE UNITED STATES DISTRICT COURT FEB -7 2020
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION ek U.S. DISTRICT COURT
y:

UNITED STATES OF AMERICA Deputy

v. No. 4:20-MI-_ 78

CHARLES ADDISON COCKRELL (01)
DERRICK TREVION ELLIS (02)

 

CRIMINAL COMPLAINT

I, Ruben Prieto, a Senior Special Agent with the United States Secret Service,
being duly sworn, state the following is true and correct to the best of my knowledge and
belief:

Beginning in or about May 2019 and continuing through on or about June
13, 2019, in the Northern District of Texas and elsewhere, Charles
Addison Cockrell and Derrick Trevion Ellis, defendants, did unlawfully
and knowingly execute a scheme to defraud and to obtain money under the
custody and control of USAA Federal Savings Bank (USAA FSB), a
financial institution the deposits of which were federally insured by the
FDIC, by causing counterfeit checks to be deposited into a USAA FSB
account and thereafter withdrawing cash funds and transferring funds from
that account to others, knowing they had no right to the proceeds of said
checks.

In violation of 18 United States Code, §1344 (2).

INTRODUCTION
l. Affiant has been employed as a Special Agent with the United States Secret
Service (USSS) since May 5, 2003, and is currently a Senior Special Agent assigned to
the Criminal Investigation Squad in the USSS Dallas Field Office. Affiant’s duties
include investigating violations of United States currency laws, including counterfeiting,
money laundering, financial fraud, and forgery of U.S. securities. Affiant has received
training in the detection and identification of counterfeit currency, checks, and

identifications.

Criminal Complaint — Page 1 of 7
OO

Case 4:20-cr-00042-P Document1 Filed 02/07/20 Page 2of7 PagelD 2

2. The facts and information contained in this Affidavit is based upon
Affiant’s personal knowledge and observations made during the course of this
investigation, information conveyed to Affiant by other law enforcement officials, and
review of Affiants records, documents, and other evidence obtained during this
investigation. This affidavit does not contain all of the information known to A ffiant
regarding the targets of the investigation. Instead, Affiant has included in this affidavit
facts believed to be sufficient to support a probable cause finding for the issuance of the
requested criminal complaint.

3. As set forth below, Affiant believes there is probable cause to believe that
Charles Addison Cockrell and Derrick Trevion Ellis participated in a scheme, along
with other unidentified individuals, to manufacture fraudulent commercial checks and
identifications for the purpose of obtaining cash funds to be divided and shared with other

participants in their scheme to violate Title 18, United States Code, Section 1344.

PROBABLE CAUSE

4, On 6/9/19, officers of the Saginaw Police Department made contact with
defendant Charles Addison Cockrell after having checked the license plate of the
vehicle which he was driving and learning that multiple warrants were associated with
that vehicle. Cockrell falsely identified himself to the officers as Bryant Dartagan, DOB
5/20/75. While conversing with Cockrell, the officer observed a syringe in plain view on
the center console of the vehicle. When the officer asked Cockrell why he had a syringe
in the vehicle, Cockrell replied it was because he did Meth.

5. A probable cause search of the vehicle followed which revealed
identification for a Bryant Dartagan, which did not match Cockrell, however he
continued to maintain that his real name was Bryant Dartagan. A records check by the
officers revealed his true identity as Charles Addison Cockrell and also an active
warrant for parole violation. When asked by the officers if he was aware he had a

warrant, Cockrell stated that he was aware of the warrant and that was the reason he gave

Criminal Complaint — Page 2 of 7
 

Case 4:20-cr-00042-P Document1 Filed 02/07/20 Page3of7 PagelD 3

officers the false name. The search of the vehicle further revealed multiple laptop
computers, computer external hard drives, computer printers, card readers, card
embossers, multiple state ID’s and birth certificates belonging to others, multiple blank
and altered checks and a sheet of paper with images of $20 Federal Reserve Notes printed
on it.

6. On 6/13/19, Affiant conducted an NCIC/NLETS query of Charles
Addison Cockrell, which revealed that he had an extensive criminal history with arrests
and convictions for offenses of Forgery and Bank Fraud dating back to 2009.

7. On 7/30/19, Affiant interviewed the owner of Cox’s Fine Floors, 650
Country Club Road, Wylie, TX 75098 who provided statements from her business’
checking account containing images of two unauthorized checks, totaling $2802.10, that
had been negotiated and cleared her business account. One check was issued in the name
of Bryant Dartagan in the amount of $1302.10 and the other was issued in the name of
Derrick Ellis for $1500.00. The owner of Cox’s Fine Floors advised Affiant that both
checks were fraudulent because she is the only authorized signatory at her business and
the signatures on the checks were not her own, and that she had no record of either
Dartagan or Ellis as legitimate payees of her business.

8. On 8/7/19, Affiant interviewed Bryant Dartagan, whose personal
identifying information was found in Cockrell’s possession at the time of his arrest and
who was the purported payee on one of the fraudulent checks. Mr. Dartagan advised that
he had did not know Cockrell nor Ellis, is not familiar with Cox Fine Floors and was not
owed money by that business, and that no one had permission to possess his personal
identifying information.

9. On 1/29/20, Affiant interviewed Derrick Trevion Ellis at the McLennan
County Jail. Prior to questioning Ellis was advised of and waived his Miranda Rights.
During the interview Affiant showed Ellis copies of the two checks from Cox’s Fine

Floors which had been negotiated and he confirmed that he deposited both checks - one

Criminal Complaint — Page 3 of 7

 
Case 4:20-cr-00042-P Document1 Filed 02/07/20 Page4of7 PagelD 4

issued to Bryant Dartagan in the amount of $1302.10 on 5/28/19 and the other issued to
Derrick Ellis in the amount of $1500.00 on 5/30/19.

Also duting the interview, Affiant showed Ellis a photograph of Jeff Snowden and
Ellis confirmed that person in the photograph was the individual providing him with the
fraudulent checks and the one he knew as “Snow”. Ellis advised Affiant that he
deposited the fraudulent checks he received from Snowden into his USAA FSB account
using a mobile deposit application on his personal cell phone. Ellis also advised A ffiant
that Snowden had been with him at the time he made the actual deposits of the two
fraudulent checks from his personal cell phone in Lake Worth, TX. Ellis further advised
that once the funds were available in his account, at the direction of Snowden, he would
wire transfer a portion of the funds to reloadable ATM card accounts provided him by
Snowden via wire transfer applications on his phone.

Ellis advised he also made two wire transfers from his USAA FSB account on
6/3/19 to Timothy Gerald for $1800 and to Jasmine L for $2000. Ellis confirmed that
Snowden provided the account numbers to him for the purpose of transferring the
proceeds obtained from depositing fraudulent checks.

Ellis advised Affiant that he had agreed to deposit checks given to him by
Snowden, into his USAA FSB checking account and wire transfer portions of the funds
to accounts numbers Snowden and other conspirators in the group had set up using stolen
identities, for the purpose of receiving the fraudulently obtained funds. Ellis stated that,
because of his drug addiction, all the funds he received were used to purchase
Methamphetamine and to pay his bills.

10. On 12/30/19, Affiant interviewed Charles Addison Cockrell at the Tarrant
County Jail, Green Bay Facility. Prior to questioning, Cockrell was advised of and
waived his Miranda Rights. During the recorded interview, Cockrell stated he wanted to
cooperate with this investigation and offer information about the scheme he was involved
in, along with other individuals, to manufacture fraudulent commercial checks and

identifications and to negotiate those checks for the purpose of obtaining cash proceeds.

Criminal Complaint — Page 4 of 7

 
Case 4:20-cr-00042-P Document1 Filed 02/07/20 Page5of7 PagelID5

Cockrell admitted to working in conjunction with several individuals to commit this
fraud. During the interview Cockrell provided the following information:

a. A female known to him as “Adrianna Sosa” would manufacture fraudulent
commercial checks using several victim’s genuine bank account numbers that were
obtained through various forms of theft. The fraudulent checks found in his possession at
the time of his arrest were made by Sosa using the computer and printer equipment seized
by Saginaw Police.

b. Cockrell used this same equipment to manufacture fraudulent State of
Texas identification cards and temporary identifications using his photograph and the
identifiers of identity theft victim, Brant Dartagan, for the purpose of negotiating
fraudulently manufactured commercial checks.

c. Cockrell was shown a copy of images found on his computers of several
Texas State ID’s and confirmed he and others in the group were using these images to
create fake ID’s to use for negotiating the fraudulent checks. Cockrell identified a
female whose photograph appeared in several of the manufactured identification cards as
being Adrianna Sosa.

d. Cockrell stated that the person whom Ellis knows as “Snow” was involved
in the fraud group and is known to Cockrell as Jeff Snowden. Cockrell stated Snowden
would recruit people with open bank accounts, in this case Ellis, to deposit fraudulent
checks into their bank accounts and then make electronic funds transfers to rechargeable
ATM debit card accounts which Cockrell would then use to withdraw cash from ATM
machines in the Fort Worth area. Cockrell stated he would receive half the proceeds of
the checks that were negotiated from either Ellis or Snowden, and later pay Sosa her
portion from his proceeds, usually fifty percent of whatever he made.

e. Affiant showed Cockrell electronic funds transfers from Ellis’ USAA FSB
checking account statement for the months of May and June 2019. Cockrell confirmed
that the transfers which reflect that they were made to “Bryant Dartagan” and “Jasmine

L” were wire transfers that were actually made to Cockrell’s accounts. Cockrell stated

Criminal Complaint — Page 5 of 7

 
Case 4:20-cr-00042-P Document1 Filed 02/07/20 Page6of7 PagelD 6

that these were two rechargeable debit accounts that he had previously set up using
victim’s stolen identities. He further advised that he would go to ATM machines in the
Fort Worth area and withdraw the funds from those rechargeable debit accounts after
Ellis had made the transfers and would later pay Sosa her share. The total amount of
funds Cockrell admitted to receiving from Ellis during the above timeframe was
$2,914.03.

f. Cockrell stated that the computer equipment, including laptops, printers,
embossers, and card readers seized by Saginaw Police, was being used by him to conduct
fraudulent activity.

11. On 12/9/19, Affiant received a Report of Activity from Juan Camacho,
Fraud Investigator, USAA FSB, detailing the fraudulent activity associated with Federal
Deposit Insurance Corporation (FDIC) insured, USAA FSB checking account number
XXXXX6906, belonging to Derrick Ellis. Investigator Camacho identified 10
fraudulent checks totaling $11,237.10 deposited into this account, to include the two
checks from Cox Fine Floors for $1302.10 and $1500.00 on the dates of 5/28/19 and
5/30/19. Investigator Camacho provided records reflecting that the deposits were made
via cell phone, through a mobile deposit on USAA’s Deposit@Mobile, a service
provided by USAA FSB, which allows customers to make check deposits from their
mobile phone using image technology. Further research into these deposits revealed the
latitudes and longitudes that the deposits were made from were 32.8113 / -97.425962 and
33.023684 / -97.2702733, which using an on-line mapping application, Affiant
determined to be in the Greater Fort Worth, TX area. Investigator Camacho identified
cell phone # XXX-XXX-8429 listed on the account belonging to Ellis as having
successfully received a one-time access code used to make these deposits.

USAA FSB bank records for Ellis’ checking account number revealed that funds
from the fraudulent deposits were later electronically transferred to the following
recipients: Bryant Dartagan, Timothy Gerald, Jennifer Matthew, and Jasmine L., which is

consistent with the statements Ellis made during his interview.

Criminal Complaint — Page 6 of 7

 
Case 4:20-cr-00042-P Document1 Filed 02/07/20 Page 7of7 PagelD 7

CONCLUSION

Based on the foregoing facts and information, Affiant submits that there is
probable cause to believe that defendants Charles Addison Cockrell and Derrick
Trevion Ellis, did knowingly execute a scheme to defraud and to obtain money under the
custody and control of USAA Federal Savings Bank (USAA FSB), a financial institution
the deposits of which were federally insured by the FDIC, by causing counterfeit checks
to be deposited into a USAA FSB account and thereafter withdrawing cash funds and
transferring funds from that account to others, knowing they had no right to the proceeds
of said checks in violation of 18 U.S.C. §1344.

Ruben Prieto, Senior Special Agent
United States Secret Service

 

SWORN AND SUBSCRIBED to before me, at_}0* 2:7 édy/pm, this

° 7 ~ day of February, 2020. /

JEFFREY/L. CURETON

ETYSTATES MAGISTRATE JUDGE

Criminal Complaint — Page 7 of 7

 
